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1                           IN THE UNITED STATES DISTRICT COURT
2                          FOR THE SOUTHERN DISTRICT OF NEW YORK
3
4
5            NIKE, INC.;                                    )
                                                            )
6                                Plaintiff,                 )
                                                            )
7                   vs.                                     )   Case No.
                                                            )   1:22-cv-00983-VEC
8            STOCKX, LLC;                                   )
                                                            )
9                                Defendant.                 )
             _______________________________)
10
11
12
13                        VIDEOTAPED DEPOSITION OF ROY IKHYUN KIM
14                                 San Diego, California
15                              Wednesday, February 8, 2023
16
17
18
19
20
21
22           Reported by:
             Lynda L. Fenn, CSR, RPR
23           CSR No. 12566
24
25

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                                                                            Page 2

1                          IN THE UNITED STATES DISTRICT COURT
2                         FOR THE SOUTHERN DISTRICT OF NEW YORK
3
4
5            NIKE, INC.;                               )
                                                       )
6                               Plaintiff,             )
                                                       )
7                   vs.                                )     Case No.
                                                       )     1:22-cv-00983-VEC
8            STOCKX, LLC;                              )
                                                       )
9                               Defendant.             )
             _______________________________)
10
11
12
13                           VIDEOTAPED DEPOSITION of ROY IKHYUN KIM,
14                    taken on behalf of Plaintiff, San Diego,
15                    California, at 9:56 a.m. and ending at 1:40
16                    p.m., Wednesday, February 8, 2023, reported by
17                    Lynda L. Fenn, CSR No. 12566, Certified
18                    Shorthand Reporter within and for the State of
19                    California, pursuant to notice.
20
21
22
23
24
25

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                                                                         Page 25

1                    A   Since 2018 is when I would probably say I

2            started reselling sneakers.

3                    Q   Where do you purchase your sneakers?

4                    A   I purchase them from retail stores.                 From

5            StockX.     From Instagram sellers as well.

6                        I purchase some from GOAT and eBay as well.

7                    Q   Do you ever purchase directly from

8            retailers?

9                    A   I do.

10                   Q   Okay.

11                       Can you give me some examples?

12                   A   I've bought directly from Nike.              I've

13           brought directly from Adidas.              New Balance.

14                       I also by from resellers like Foot Locker,

15           Champs, DTLR.

16                       I mean any retailer that sells shoes, I've

17           probably brought from them in the past two years.

18                   Q   And now you mentioned again StockX and

19           GOAT.

20                   A   Uh-huh.

21                   Q   Is there a resell platform that you used

22           most frequently before July 2022?

23                   A   Yes, StockX is the main resell platform I

24           use.

25                   Q   Okay.

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1                        And why did you use this platform the most?

2                   A    StockX offered the best prices.              As also a

3            power buyer, I've had discounts on shipping so it

4            made no sense economically to purchase through their

5            platform.

6                   Q    Now, how much have you spent purchasing on

7            StockX platform?

8                   A    Over a million dollars.

9                   Q    And if you can recall, do you know when you

10           made your first purchase from StockX?

11                  A    Probably 2017, 2018.         But I have to look

12           that up to be specific.

13                  Q    And how many purchases would you estimate

14           you've made from StockX to date?

15                  A    Maybe around 5,000 shoes or so.

16                  Q    And are you familiar with the StockX term

17           "power buyer"?

18                  A    That was a phrase that I use.              They might

19           use it, but I'm not sure if they use it.

20                  Q    And what does "power buyer" mean?

21                  A    It's just somebody who -- if they spend a

22           certain amount within a quarter, they get discounted

23           shipping rates.

24                  Q    And what amount is that, if you know?

25                  A    I don't recall off the top of my head.

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1            service you received from StockX after becoming a

2            power buyer?

3                   A    Their customer service is generally pretty

4            good just not in this particular case.                   Generally,

5            they are responsive to any issues that I have as a

6            buyer or a seller within 24 hours.

7                        In this case I didn't hear back them from.

8                   Q    And do you think that StockX made it easier

9            for you to return products with issues?

10                  A    I'm sorry, I don't understand your

11           question.

12                  Q    Yeah.

13                       Did StockX make it easy for you to return

14           products with issues?

15                  A    Outside of this particular scenario or

16           others?

17                  Q    Well, let's focus on this particular

18           scenario.

19                  A    In this scenario, yeah, once they received

20           the shoes and verified that, you know, they were

21           fake, it was easy for me to return.

22                       They sent me a bunch of shipping label and

23           I sent the shoes back with them.

24                  Q    Okay.    How about in other situations?

25                       Does StockX make it easy for you to return

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1                   A   Yes.

2                   Q   Okay.     Since that time --

3                   A   Uh-huh.

4                   Q   -- can you estimate the number of purchases

5            that you have made through StockX?

6                   A   Probably around like two thousand, three --

7            two thousand, three thousand.              A couple thousand

8            pairs, sorry, two or three thousand pairs of shoes.

9                   Q   Two or three thousand pairs of shoes?

10                  A   I know it's a million dollars because it

11           shows up on my StockX profile, but I don't think they

12           give you the number of items bought.

13                  Q   Okay.

14                      But it certainly -- there's been a million

15           -- you've made a million dollars in buys since the

16           year 2017?

17                  A   Yes.

18                  Q   Okay.

19                  A   That's correct.

20                  Q   How often do you go on the StockX platform?

21                  A   Daily.

22                  Q   Okay.

23                      You mentioned when you were discussing

24           StockX, I believe, that one of the services they

25           provide is to review the product before it is sent to

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1                   Q    Is it that same time period since 2017?

2                   A    It is, yes.

3                   Q    Okay.

4                        Is there a reason that you use StockX so

5            much more than these other two platforms?

6                   A    I prefer the buying experience and it's

7            actually cheaper to buy on StockX relative to the

8            other platforms that they have on the market.

9                   Q    Okay.

10                       Are you particular where you buy your

11           collectable sneakers?

12                       MS. REINCKENS:        Objection; form.

13                       THE WITNESS:      Only to the extent that the

14           price matters to me.

15                       MR. POTTER:      Okay.

16           BY MR. POTTER:

17                  Q    So, if the price was appropriate, would you

18           buy from any source?

19                  A    If the price was appropriate, I would buy

20           from any source with an authentication component to

21           it.        But all things considered, if it's the same

22           price I would prefer to buy on StockX.

23                  Q    You mentioned that you prefer the buying

24           experience on StockX?

25                  A    I do.

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1                    Q   Can you elaborate on that, please?             What

2            about the buying experience do you prefer?

3                    A   I prefer the app experience.           I prefer the

4            fact that I can set a bid price, which is the price

5            I'd want to pay, and then the seller can choose to

6            match it, which a lot of other platforms do not

7            allow.

8                        And generally speaking, the customer

9            experience I've had at StockX when I've had issues

10           has generally been more responsive than both eBay and

11           GOAT.

12                   Q   So I believe you said that you would only

13           purchase collectable sneakers through a channel that

14           would provide some sort of authentication?

15                   A   Yeah, for resale.        For -- obviously I don't

16           prefer retail to begin with, but yes.              When it comes

17           to resale, yes.

18                   Q   Understood.

19                   A   Or secondhand, I apologize.

20                   Q   Do you believe that's representative of the

21           buying pattern of sneaker collectors generally?

22                   A   I would imagine so, yes.

23                   Q   And that's based on your experience dealing

24           with sneaker collectors --

25                   A   Yes.

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1            these shoes to be real or are authentic.

2                   Q   Did you say that you believe CheckCheck

3            communicates with replica makers in China?

4                   A   That's -- that's my speculation, but I

5            don't have any information about it.

6                       But they have an understanding of fake

7            shoes more than the average consumer does.

8                   Q   Okay.     Has anybody ever told you that --

9            that they deal directly with replica makers in China?

10                  A   No.

11                  Q   Okay.

12                      Have you ever had any opportunity to

13           independently verify the accuracy of CheckCheck's

14           authentication?

15                  A   No, because authenticity is hard to make a

16           final judgment on.        These are all signals -- one of

17           many signals that we use as sneaker resellers to

18           understand -- to understand whether these are real

19           shoes or not.

20                  Q   When you say these are one of the signals

21           we use to understand whether these are real shoes or

22           not --

23                  A   Uh-huh.

24                  Q   -- what do you mean by that?

25                  A   So, as a sneaker reseller, we can never be

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1            a hundred percent sure of the authenticity of the

2            shoe.

3                        Only Nike can really -- only Nike really

4            can give that determination.

5                        So with things like CheckCheck and Legit

6            Check, we'll also -- I'll also talk to other sneaker

7            resellers who have familiarity with certain shoes,

8            because they see more of a certain type of shoe so

9            they know what to look for on the fakes and I'll rely

10           on some of their judgments.

11                       So, it's not like a single source where,

12           like, all right, Legit Check App failed it so I know

13           it's fake.

14                       And then, you know, in my case I went from

15           Legit -- I'm sorry, I went from CheckCheck App to

16           Legit Check App to double check it.                And then I also

17           took a look at it myself based on some research on

18           what was happening with some of these SKUs in terms

19           of defects in the more recent replica batches.

20                   Q   But you don't personally know whether

21           CheckCheck is correct when it says a shoe is

22           authentic or not?

23                   A   Correct.     I don't know for sure, yes.

24                   Q   Okay.

25                       And what is Legit Check?

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1            have -- I've submitted shoes with defects that I

2            don't believe are real defects.

3                   Q   I see.

4                       And I believe you mentioned earlier that

5            you prefer the customer experience at StockX to the

6            customer experience at GOAT; is that right?

7                   A   That is true, yes.

8                   Q   And is the experience with customer service

9            one of the factors that leads to that conclusion?

10                  A   It is.

11                  Q   Okay.

12                      So you experience with customer service at

13           StockX in your opinion was better than at GOAT?

14                  A   Yes, by a mile.

15                  Q   Can you elaborate on why -- on why that is?

16                  A   Yeah, GOAT will sometimes not respond to

17           tickets for weeks.        I've had issues where I've taken

18           two to three weeks of continuously emailing them to

19           resolve an issue.

20                      With StockX, generally speaking, I get a

21           response within one or two business days and most of

22           my issues are resolved to my satisfaction in the

23           sense they'll, you know -- in terms of selling

24           they'll, like, refund the fact that they -- that I

25           had to pay for the shipping to get the shoes back.

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1            customer service regarding any of those purchases?

2                   A   The only time I had to reach out to eBay

3            was when there's a billing issue, but not anything

4            related to shoes or the orders.

5                   Q   Okay.

6                       And how does that experience compare to

7            your customer service experience at StockX?

8                   A   It's very, very difficult.

9                   Q   At eBay?

10                  A   Yes.     There isn't like a direct line you

11           can really reach out to.           I had to dig around to find

12           emails for people to make it happen.

13                  Q   In the history of your shoe sneaker

14           purchasing --

15                  A   Uh-huh.

16                  Q   -- have you ever purchased fakes -- fake

17           sneakers, inauthentic sneakers from GOAT?

18                  A   Not to my knowledge, no.

19                  Q   Have you ever suspected that you did?

20                  A   As sneaker heads, we're conditioned to

21           think that any shoes is likely -- it could be fake

22           that comes through these platforms.

23                      But I've not got any definitive feelings

24           about GOAT selling fakes, no.

25                  Q   Have you purchased fakes through any other

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1            platforms or any other channels?

2                   A   Yes, through Instagram sellers.              And at one

3            time I used Grailed App, which is a little bit

4            different, but I did get fakes through those --

5            through those apps.

6                   Q   Do those, to your knowledge, employ any

7            authentication processes?

8                   A   They do not, no.

9                   Q   Have you noticed any change in the quality

10           of replica or counterfeit sneakers over time?

11                  A   Yes, definitely.

12                  Q   In what way?

13                  A   So certain SKUs, like the three that I had

14           purchased, have become far more accurate and we call

15           -- in the secret community we call them one-to-one

16           replicas where they become virtually

17           indistinguishable from the real shoes.

18                      And certainly these SKUs, given their

19           popularity, have been the major focus for replica

20           makers to build a one-to-one version.

21                      So, yes, absolutely over the past year.                In

22           some ways some of these shoes -- especially even

23           Yeezys -- are virtually indistinguishable from the

24           real shoe now.

25                  Q   What about shoes with defects?              Have you

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1                    Q   After you received the refunds from StockX

2            for the Uni, the Hyper Royal and the Mocha, did you

3            continue to purchase sneakers through the StockX

4            platform?

5                    A   I did.

6                    Q   Approximately how many sneakers have you

7            purchased through StockX -- how many pairs of

8            sneakers have you purchased through StockX since that

9            time?

10                   A   Over a thousand, I'm guessing.              A lot.

11                   Q   And have any of those -- have you believed

12           that any of those are not authentic?

13                   A   No, I have not.

14                   Q   Have you bought Nike sneakers, as well as

15           other brand?

16                   A   I have, yes.

17                   Q   And are you -- are you continuing to

18           currently make purchases through StockX?

19                   A   I am, yes.

20                   Q   What percentage of the shoes that you

21           purchased through StockX since July 2022 were Nikes?

22           An estimate is fine.

23                   A   Ninety percent plus.

24                   Q   You were also in communication with Nike's

25           litigation counsel in July of '22; correct?

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